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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 IN RE: CHICAGO BOARD OPTIONS
 EXCHANGE VOLATILITY INDEX                          No. 18 CV 4171
 MANIPULATION ANTITRUST LITIGATION                  MDL No. 2842


         ORDER OF APPOINTMENT TO PLAINTIFFS’ STEERING COMMITTEE

       The motion to modify the order appointing plaintiffs’ leadership counsel [226]
is granted in limited part. Ms. Justice will remain co-lead counsel for now, but Sharan
Nirmul, Kessler Topaz, is immediately appointed to plaintiffs’ steering committee to
allow for continuity of assignments and to allow the Kessler Topaz clients to have a
role in directing the case. Mr. Nirmul’s appointment will expire, along with all other
appointments, on August 1, 2019. See [119].

      I will consider restructuring the committee and appointing different lead
counsel for terms to begin on August 1, 2019, after ruling on the pending motion to
dismiss.

ENTER:

Date: April 16, 2019                    _______________________________
                                        Manish S. Shah
                                        U.S. District Judge
